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          EXHIBIT 19
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                              IN THE UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TENNESSEE
                                        EASTERN DIVISION

    CONSOLIDATED INDUSTRIES, LLC                     )
    d/b/a WEATHER KING PORTABLE                      )
    BUILDINGS,                                       )
                                                     )
              Plaintiff,                             )
                                                     )   Civil Action No. l:22-cv-01230
    v.                                               )
                                                     )
    JESSE A. MAUPIN, BARRY D.                        )
    HARRELL, ADRIAN S. HARROD,                       )
    LOGAN C. FEAGIN, STEPHANIE L.                    )
    GILLESPIE, RYAN E. BROWN, DANIEL                 )
    J. HERSHBERGER, BRIAN L. LASSEN,                 )
    ALEYNA LASSEN, and AMERICAN                      )
    BARN CO., LLC,                                   )
                                                     )
              Defendants.                            )

              PLAINTIFF’S FIRST SET OF INTERROGATORIES, REQUESTS FOR
          PRODUCTION OF DOCUMENTS. AND REQUESTS FOR ADMISSION TO
                     DEFENDANT AMERICAN BARN CO., LLC

          Pursuant to Fed. R. Civ. P. 26, 33, 34, and 36, Plaintiff Consolidated Industries, Inc. d/b/a

   Weather King Portable Buildings (“Weather King”) serves the following First Set of

   Interrogatories, Requests for Production of Documents, and Requests for Admission upon

   Defendant American Bam Co., LLC. Each interrogatory is to be answered separately and fully in

   writing, under oath, and signed by you within thirty (30) days of this request. Responses to the

   requests for admission are due within thirty (30) days, and responsive documents are to be served

  with the written responses and said documents to be produced within thirty (30) days of this

   request.
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   floppy disks, hard disks, tapes, CD-ROMs, external hard drives, flash or “zip” drives, or remote

   or “cloud” storage locations.

          (f)     The terms “identify” or “identity” mean, with respect to persons, to state the full

   name, present or last known address, current or last known employment and position or title

   therein, and telephone number; and with respect to documents, said terms shall mean to state the

   general nature of the document (for example, letter, email, telegram, photograph or memorandum),

   the date, the author, the addressee, and the location and custodian of the document.



                                            INTERROGATORIES

           1.     Identify each person or entity who played a role in planning ABCO’s creation or

   formation and, for each such person/entity: (a) set forth the role each person/entity played; and (b)

   set forth the dates in which the person/entity helped plan the creation/formation.

          RESPONSE:




          2.      Identify each person or entity who has served as an owner or member of ABCO

  and, for each such person/entity : (a) set forth the position/title each person has held; (b) set forth

  the ownership interest each person has held; and (c) set forth the dates in which the person held

  such title and ownership interest.

          RESPONSE:




                                                        3
